










Opinion issued August 11, 2005 














In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-05-00613-CR
____________

CARY WAYNE WINKEL, Appellant

V.

THE STATE OF TEXAS, Appellee




On Appeal from the 232nd 
Harris County, Texas
Trial Court Cause No. 232nd 



&nbsp;
MEMORANDUM  OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On August 4, 2005, appellant  filed a motion to dismiss the above-referenced
appeal.  The motion complies with the Texas Rules of Appellate Procedure.  See Tex.
R. App. P. 42.2(a).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We have not yet issued a decision.  Accordingly, the motion is granted and the
appeal is dismissed. 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The Clerk of this Court is directed to issue the mandate.  Tex. R. App. P. 18.1.

PER CURIAM

Panel consists of Justices Nuchia, Keyes, and Bland. 

Do not publish.  Tex. R. App. P. 47.2(b).


